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                                                                                                                U.S._.: . ,   .i



                                               UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF VERMONT


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  EUGENE SCALIA, SECRETARY OF LABOR,
  United States Department of Labor
                                       Petitioner,                                           CIVIL ACTION FILE NO:
                                        V.

  ERIC TRAVERSE, in his capacity
  as Trustee of the CONNOR GROUP
  40l(k) PLAN,
                                       Respondent.


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                          PETITION TO ENFORCE ADMINISTRATIVE SUBPOENA
Eugene Scalia, Secretary of the United States Department of Labor, asserts:


      1. This action is brought to compel Respondent to comply with an Administrative Subpoena

            issued and directed to him by the Regional Director, Boston Regional Office, Employee

            Benefits Security Administration ("EBSA"), United States Department of Labor

            ("Department") in an investigation conducted pursuant to section 504(a)(l) of the

            Employee Retirement Income Security Act of 1974 ("ERISA" or "the Act"), 29 U.S.C.

             § 1134.

      2. The Court has jurisdiction over this petition pursuant to Sections 9 and 10 of the Federal

            Trade Commission Act, 15 U.S.C. §§ 49 and 50, as made applicable by ERISA § 504(c),

            29 U.S.C. § l 134(c), and pursuant to ERISA § 502(e)(l), 29 U.S.C. § l 132(e)(l).

      3. The Connor Group 40l(k) Plan (the "Plan") is an employee benefit plan within the

            meaning of ERISA §3(3), 29 U.S.C. § 1002(3), and is subject to the coverage of the Act


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   pursuant to§ 4(a) of ERISA, 29 U.S.C. § 1003(a). The Plan was administered from its

   principal office in Middlebury, Vermont. Venue is proper pursuant to ERISA § 502(e)(2),

   29 U.S.C. § 1132(e)(2).

4. Respondent Eric Traverse is, and at all times relevant to this action, was Trustee of the

   Plan, and as such, is deemed to be the custodian of records with respect to the Plan and/or

   the person with knowledge with respect to the Plan's administration and management.

5. In connection with an investigation initiated pursuant to ERISA § 504(a)(l), 29 U.S.C.

    § 1134(a)(l ), to determine whether any person has violated or is about to violate any

   provision of Title I of ERISA or any regulation or order promulgated thereunder, the

   Boston Regional Office of EBSA telephoned and left voice messages for Respondent on

   November 28, 2017, January 11, 2018, April 18, 2018, and June 17, 2018. EBSA emailed

   Respondent on July 24, 2018 requesting that Respondent call back. The Boston Regional

   Office then sent a letter to Respondent on September 18, 2018 requesting a call back.

6. Because Respondent did not respond to any of these communications, on February 5,

   2019, the Regional Director of the Boston Regional Office, EBSA, signed and issued an

   Administrative Subpoena requiring Respondent to produce certain records and

   documents necessary to the investigation. Specifically, the Administrative Subpoena

   requires that Respondent produce payroll records and W2s for the period from January 1,

   2016 to the date of production. Copies of that Administrative Subpoena, a cover letter,

   and proof of receipt are attached as Exhibit A.

7. On February 5, 2019, EBSA Senior Investigator Emily Born sent by certified mail, return

   receipt requested, the original of the Administrative Subpoena to Respondent, Eric




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        Traverse, at 338 Fishing Access Road, Brandon, Vermont 05733. The return receipt was

        signed by Renee Traverse on February 9, 2019.

   8.   The Court has personal jurisdiction over Mr. Traverse, who lives at the above listed

        address.

   9. The Administrative Subpoena requires that the Respondent produce W2s and payroll

        records, which relate to the Plan.

    10. Despite the Department's repeated attempts to contact Respondent, as set forth in the

        Born Declaration, the Westphal Declaration, and the Declaration of Sheila A. Gholkar,

        Respondent has failed to transmit any documents to the Department of Labor in response

        to said Administrative Subpoena as of this date.

    11. The Secretary requires the documents sought in the Administrative Subpoena in order to

        conduct its investigation of the Connor Group 401(k) Plan.


WHEREFORE, the Secretary prays that this Court enter an Order requiring Respondent to

appear on a date certain to Show Cause, if any there be, why it should not appear before the

designated representatives of EBSA at such time and place as Petitioner or the Court may set,

then and there to produce such designated documents as required by the Administrative

Subpoena, that Respondent be ordered to submit to an administrative deposition at an agreed

upon time and date before representatives of EBSA, and that petitioner have such other and

further relief as may be necessary and appropriate.


Respectfully submitted,



                                             Kate S. 0' Scannlain
                                             Solicitor of Labor



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                          Maia S. Fisher
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                          DATE: November 26, 2019




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